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                                 IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF PUERTO RICO
                                                                                         1 MINUTE


MINUTE OF PROCEEDINGS                                        DATE: April 3, 2025
U.S. MAGISTRATE JUDGE GISELLE LOPEZ-SOLER                    AUSA: Emelina Agrait-Barreto
COURT REPORTER: ZOOM                                         COURTROOM NO. OSJ 6 (Hybrid Proceeding)


 UNITED STATES OF AMERICA                                                 Return of
                                                                 Indictment by the Grand Jury
 Plaintiff                                                      Criminal No. 25-cr-00173 PAD)

 vs.

 Jonathan Josue Acevedo-Cruz (1)

 Defendant(s)



Indictment was filed in open court.

Arraignment set for April 7, 2025 at 1:30 PM in Hato Rey Courtroom 2 before U.S. Magistrate
Judge Giselle López-Soler.

Case is assigned to Judge Pedro A. Delgado-Hernández.

NEW CASE:

☐ This Indictment supersedes Criminal Case No. -----.
☒ Defendant(s) appeared in 25-mj-00304. Magistrate case merged and closed.
☐ Defendant(s) charged in magistrate case -----, but not arrested. Magistrate case merged and closed.
☐ Defendant(s) not charged in magistrate case.
☐ The Court granted the government’s motion to seal.
☒ Defendant(s) to remain on same bond.
☐ Defendant(s) is/are under custody. Marshal to produce the defendant(s).
☐ Arrest warrant(s) to be issued.
☐ Summons to be issued.

                                                        s/María Luz Díaz
                                                        Courtroom Deputy Clerk
